              Case 25-01707                Doc 1          Filed 02/04/25 Entered 02/04/25 08:09:57                                  Desc Main
                                                            Document     Page 1 of 19
     Fill in this information to identify the case:

      United States Bankruptcy Court for the:

     Northern District of Illinois

                                                                         11
      Case number (If known): __________ Chapter __
                                                                                                                                              D Check if this is an
                                                                                                                                                 amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             os,24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.     Debtor's name                         Lutheran Home for the Aged, Inc.


2. All other names debtor used               dba Lutheran Home
   in the last 8 years
       Include any assumed names,
       trade names, and doing business
       as names



3. Debtor's federal Employer                 XX-XXXXXXX
   Identification Number (EIN)


4.     Debtor's address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                          of business
                                                800 W. Oakton
                                             Number        Street                                         Number      Street


                                                                                                          P.O. Box
                                                Arlington Heights             IL      60004
                                             City                             State     ZIP Code          City                        State        ZIP Code

                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                Cook County
                                             County
                                                                                                          Number      Street




                                                                                                          City                        State        ZIP Code



5. Debtor's website (URL)                       lutheranlifecommunities.org/lutheranhome

6.    Type of debtor                         IZl Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                             D Partnership (excluding LLP)
                                             D Other. Specify: __________________________

Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
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                  Lutheran Home for the Aged, Inc.                                                    Case number(llknown)______________
Debtor
                 Name

                                                A. Check one:
       Describe debtor's business
7.
                                                IZl Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                □ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                □ Railroad (as defined in 11 U.S.C. § 101(44))
                                                □ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                □ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                □ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                □ None of the above
                                                B. Check all that apply:
                                                IZl Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                □ Investment
                                                  § 80a-3)
                                                             company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.

                                                □ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                                   See http://www.naics.com/search/ .
                                                     6233
s. Under which chapter of the                   Check one:
   Bankruptcy Code is the                       D Chapter 7
   debtor filing?                               D Chapter 9
                                                [Z) Chapter 11. Check all that apply:
                                                                 D       Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                     insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                                     4/01/25 and every 3 years after that).
       A debtor who is a "small business
       debtor'' must check the first sub­                        D     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
       box. A debtor as defined in                                   debtor is a small business debtor, attach the most recent balance sheet, statement
       § 1182(1) who elects to proceed                               of operations, cash-flow statement, and federal income tax return or if all of these
                                                                     documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
       under subchapter V of chapter 11
       (whether or not the debtor is a
       "small business debtor'') must
                                                                 □ chooses
                                                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                                           to proceed under Subchapter V of Chapter 11.
       check the second sub-box.
                                                                 D     A plan is being filed with this petition.

                                                                 □ creditors,
                                                                     Acceptances of the plan were solicited prepetition from one or more classes of
                                                                              in accordance with 11 U.S.C. § 1126(b).

                                                                 D     The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                     Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                     Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                     Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                 D    The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                     Rule 12b-2.
                                               D Chapter 12


s. Were prior bankruptcy cases                  l2J No
   filed by or against the debtor
   within the last 8 years?                    □     Yes. District ________ When ______ Case number _________
                                                                                 MM/ DD/YYYY
      If more than 2 cases, attach a
      separate list.                                        District ________ When ______ Case number _________
                                                                                   MM/ DD/YYYY
10. Are any bankruptcy cases
      pending or being filed by a
                                                □ No
      business partner or an                    [Z)Yes. Debtor _s_e_e_R_id_e _r____________ Relationship
      affiliate of the debtor?                              District ________________ When
       List all cases. If more than 1,                                                                                            MM / DD /YYYY
       attach a separate list.                              Case number, if known ____________

     Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 2
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                Lutheran Home for the Aged, Inc.
Debtor                                                                                             Case number(ifknown),______________
                Name



11. Why is the case filed in this             Check all that apply:
    district?
                                              la Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the dale of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                              la A bankruptcy case concerning debtor's affiliate, general par tner, or partnership is pending in this district.


12. Does the debtor own or have               IZ] No
   possession of any real                     D Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                               Why does the property need immediate attention? (Check all that appy.)
   attention?
                                                       D It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                           What is the hazard? _ ________________________
                                                       D It needs to be physically secured or protected from the weather.
                                                       D It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).

                                                       0 Other ____________________________



                                                      Where is the property?_________________________
                                                                                   Number        Street



                                                                                   City                                           State       ZIP Code


                                                      Is the property insured?
                                                       □ No
                                                       D Yes. Insurance agency _________________________
                                                                Contact name

                                                                Phone



          Statistical and administrative information


13. Debtor's estimation of                    Check one:
   available funds                            la Funds will be available for distribution to unsecured creditors.
                                              D After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                              □ 1-49                           0 1,000-5,000                             □ 25,001-50,000
14. Estimated number of
                                              □ 50-99                          0 5,001-10,000                            □ 50,001-100,000
   creditors
                                              @ 100-199                        □ 10,001-25,000                           D More than 100,000
                                              □ 200-999
                                             0 $0-$50,000                      0 $1,000,001-$10 million                  D $500,000,001-$1 billion
15. Estimated assets
                                              □$50,001-$100,000                0 $10,000,001-$50 million                 D $1,000,000,001-$10 billion
                                              □$100,001-$500,000               D $50,000,001-$100 million                D $10,000,000,001-$50 billion
                                             D $500,001-$1 million             la $100,000,001-$500 million              D More than $50 billion


 Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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                       Lutheran Home for the Aged, Inc.
         Debtor                                                                                              Case number urmownt
                       Nemo


                                                     O $0450,000                         O $1,000,001410 million                      O $500,000,00141 billion
         16. Estimated liabilities                   O $50,001-$100,000                  O $10,000,001-$50 million                    O $1,000,000,001-$10 billion
                                                     O $100,001-$500,000                 O $50,000,001-$100 million                   ❑ $10,000,000,001-$50 billion
                                                     O $500,00141 million                0 $100,000,001-$500 million                  O More than $50 billion




        111          Request for Relief, Declaration, and Signatures


          WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                     $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571,


          17. Declaration and signature of                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of
                                                          petition.
             debtor

                                                          I have been authorized to file this petition on behalf of the debtor.

                                                          I have examined the information in this petition and have a reasonable belief that the information Is true and
                                                          correct.


                                                     I declare under penalty of perjury that the foregoing is true and correct.

                                                          Executed on 02/04/2025
                                                                      MM / Do Pi'VYY

                                                     X /s/ a e e«x                                                        Amy LaCroix
                                                          Signatureof             representative of debtor            Printed name

                                                          Title      Secretary




          18. Signature of attorney                        /s/ David A. Agay                                          Date          02/04/2025
                                                          Signature of attorney for debtor                                          MM        / DD / YYYY


                                                           David A. Agay
                                                          Printed name
                                                          McDonald Hopkins
                                                          Firm name
                                                           300 North LaSalle Street Suite 1400
                                                          Number         Street
                                                          Chicago                                                         IL                   60654
                                                          City                                                            State                ZIP Code

                                                           312-280-0111                                                      dail
                                                          Contact phone                                                             address


                                                           ARDC 6244314
                                                          Bar number                                                      State




            Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 4
                      Case 25-01707                  Doc 1          Filed 02/04/25 Entered 02/04/25 08:09:57                                   Desc Main
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        Fill in this information to identify the case:

        Debtor name     Lutheran Home and Services for the Aged, Inc., et al.

        United States Bankruptcy Court for the: Northern                         District of Illinois
                                                                                            (State)
                                                                                                                                                      ID Check if this is an
        Case number (If known):                                                                                                                           amended filing




      Official Form 204
      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
      Unsecured Claims and Are Not Insiders                                    12/15

      A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
      disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
      secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
      largest unsecured claims.


       Name of creditor and complete              Name, telephone number,             Nature of the     Indicate if   Amount of unsecured claim
       mailing address, including zip             and email address of creditor       claim (for        claim is      If the claim is fully unsecured, fill in only unsecured claim
       code                                       contact                             example, trade    contingent,   amount. If claim is partially secured, fill in total claim
                                                                                      debts, bank       unliquidated, amount and deduction for value of collateral or setoff to
                                                                                      loans,            or disputed calculate unsecured claim.
                                                                                      professional
                                                                                      services, and
                                                                                                                            Total claim, if    Deduction for          Unsecured
                                                                                                                              partially           value of              claim
                                                                                                                              secured           collateral or
                                                                                                                                                   setoff
      Select Rehabilitation                    r, ttn: Legal Dept                     Trade                                                                          $808,084.60
      PO Box 71985                               P:
      Chicago, IL 60694                         F:




      Healthcare & Family Services               ttn: Legal Dept                      Trade                                                                          $446,990.00
 2    201 S Grand Ave E, 3rd Fl                 P:
      Springfield, IL 62763-0002                F:
                                                hfs.rules@illinois.gov



      CR Improvements LLC                       Attn: Legal Dept                      Trade                                                                          $255,294.00
  3   4130 Downers Dr                           P:
      Downers Grove, IL 60515                   F:
                                                 hris@crimprovements.com



      Direct Energy Business                     ttn: Legal Dept                       rade                                                                          $185,587.05
  4   PO Box 70220                              P: 888-925-9115
      Philadelphia, PA 19176                    F:




      Tabet Divito & Rothstein LLC              Attn: Legal Dept                      Professional                                                                   $70,177.27
  5   209 S Lasalle St, Fl 7                    P: 312-762-9450                       Services
      Chicago, IL 60604                         F: 312-762-9451




      Thomas Cuisine                            Attn:                                 Professional                                                                   $64,012.21
      1700 E Franklin Rd                                                              Services
      Meridian, ID 83642                        F:




      Constellation NewEnergy Inc               Attn: Legal Dept                      Trade                                                                          $43,449.55
  7   PO Box 4640                               P:
      Carol Stream, IL 60197




This list is a consolidated list on behalf of each of the debtors and debtors in possession.
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                                                               Document     Page 6 of 19
Debtor: Lutheran Home and Services for the Aged, Inc., et al.                              Case number (if known):



     Name of creditor and complete         Name, telephone number,         Nature of the     Indicate if   Amount of unsecured claim
     mailing address, Including zip        and email address of creditor   claim (for        claim Is      If the claim is fully unsecured, fill in only unsecured claim
     code                                  contact                         example, trade    contingent, amount. If claim Is partially secured, fill in total claim
                                                                           debts, bank       unliquidated, amount and deduction for value of collateral or setoff to
                                                                           loans,            or disputed calculate unsecured claim.
                                                                           professional
                                                                           services, and
                                                                                                               Total claim, If       Deduction       Unsecured claim
                                                                                                              partially secured     for value of
                                                                                                                                    collateral or
                                                                                                                                       setoff

     I3rdThird Marketing LLC             rpttn: Legal Dept                 'Professional                                                                  $34,325.00
 8    PO Box 803                                                            Services
     Vashon, WA 98070                    F:
                                         patrick(g3rd3rd.com



     McKesson Medical Surgical           Attn: Legal Dept                                                                                                 $27,049.13
 9   PO Box 204786                       P:
     Dallas, TX 75320                    F:




    NIPSCO                               Attn: Legal Dept                  Trade                                                                          $25,723.47
 10 PO Box 13007                         P:
    Merrillville, IN 46411               F:




    Health Care Service Corporation      Attn: Legal Dept                  trade                                                                          $22,384.69
 11 300 E Randolph St                    P: 800-654-7385
    Chicago, IL 60601                    F:




    Ryan Fire Protection                 Attn: Legal Dept                  'Trade                                                                         $22,378.00
 12 9740 E 148th St                      P:
    Noblesville, IN 46060                F:




    K&M Printing Co.                     Attn: Legal Dept                  Trade                                                                          $16,270.56
 13 1410 N Meacham Rd                    P:
    Schaumburg, IL 60173                 F:




    City of Crown Point                   ttn: Legal Dept                  Trade                                                                          $15,350.80
 14 101 North East St                    P:
    Crown Point, IN 46307                F:




    Silversphere LLC                     Attn: Legal Dept                  Trade                                                                          $15,300.00
 15 PO Box 75701                         P:
    Chicago, IL 60675                    F:
                                         accountsreceivable©sentrics.com



    OneNeck IT Solutions LLC             Attn: Legal Dept                  Trade                                                                          $15,069.55
 16 PO Box 85790                         P:
    Minneapolis, MN 55485                F:




    ,Ameren Illinois                     Attn: Legal Dept                  Trade                                                                          $14,883.92
 17 PO Box 88034                         P:
    Chicago, IL 60680                    F:




35650tikial Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 2
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Debtor: Lutheran Home and Services for the Aged, Inc., et al.                            Case number (if known):

       Name of creditor and complete          Name, telephone number,       Nature of the    Indicate if   Amount of unsecured claim
       mailing address, including zip         and email address of creditor claim (for       claim is      If the claim is fully unsecured, fill in only unsecured claim
       code                                   contact                       example, trade   contingent, amount. If claim is partially secured, fill in total claim
                                                                            debts, bank      unliguidated, amount and deduction for value of collateral or setoff to
                                                                            loans,           or disputed calculate unsecured claim.
                                                                            professional
                                                                            services, and
                                                                                                              Total claim, if        Deduction       Unsecured claim
                                                                                                             partially secured      for value of
                                                                                                                                    collateral or
                                                                                                                                       setoff

      'Critical HVAC Systems LLC            Attn: Legal Dept                Trade                                                                         $14,155.41
 18      00 Newport Dr, Ste 1               P:
      Rolling Meadows, IL 60008             F:



       rime Senior Home Care Inc             ttn: Legal Dept                Trade                                                                         $11,205.00
 19    331 N Lincoln Ave, Ste 3             P:
      Lincolnwood, IL 60712                 F:
                                             rimeseniorcare@gmail.com


    K Elevator Corporation                   ttn: Legal Dept                Trade                                                                         $11,108.24
 20 40 W Adams St, Ste 404                  P: 312-733-8025
    hIcago, IL 60607                        F:




35655052.1

      Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 3
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        Fill in this information to identify the case and this filing:


        Debtor Name Lutheran Home for the Aged, Inc.
        United States Bankruptcy Court for the:     Northern              District of Illinois
                                                                                     (State)
        Case number (If known):




      Official Form 202
      Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15

      An Individual who Is authorized to act on behalf of a non-Individual debtor, such as a corporation or partnership, must sign and submit
      this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
      and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
      document, and the date, Bankruptcy Rules 1008 and 9011.

      WARNING Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $600,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 162, 1341,
      1519, and 3571.



                   Declaration and signature



                I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
                another individual serving as a representative of the debtor in this case.

                I have examined the information in the documents checked below and I have a reasonable belief that the information Is true and correct;


                ❑ Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

                ❑ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                ❑ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                ❑ Schedule 0: Executory Contracts and Unexpired Leases (Official Form 206O)

                ❑ Schedule H: Codebtors (Official Form 206H)

                ❑ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

                ❑ Amended Schedule

                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                120 Other document that requires a declaration        Corporate Ownership Statement



               I declare under penalty of perjury that the foregoing is true and correct.
                                                                            DocuSIgnod by:


               Executed on .)-1      i-1 g5                       X        IIhy     eM1O:4


                           MM / 0D I YYYY                              Signature of individual signing on behalf of debtor


                                                                           Amy LaCroix
                                                                       Printed name
                                                                           Secretary
                                                                       Position or relationship to debtor


       Official Form 202                           Declaration Under Penalty of Perjury for Non-individual Debtors
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DISTRICT

In re:                                                  Chapter 11

Lutheran Home and Services                              Case No. 25-[            ]
for the Aged, Inc.,
                                                        (Joint Administration Requested)
                         Debtor.

                                            RIDER I

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         Each of the entities listed below (collectively, the "Debtors") filed a petition in the
United States Bankruptcy Court for the Northern District of Illinois for relief under chapter 11
of title 11 of the United States Code contemporaneously with the above-captioned debtor. The
Debtors are moving for joint administration of each of these cases.


                                              Debtor

                               Lutheran Home and Services for the
                               Aged, Inc.


                               Lutheran Home for the Aged, Inc.


                               Luther Oaks, Inc.


                               Pleasant View Luther Home, Inc.


                               Wittenberg Lutheran Village, Inc.


                               Wittenberg Lutheran Village
                               Endowment Corporation


                               Lutheran Life Communities

                               Lutheran Life Communities
                               Foundation
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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 In re:                                                   Chapter 11

 Lutheran Home for the Aged,                              Case No. 25-[             ]
 Inc.,
                                                          (Joint Administration Requested)
                            Debtor.

                          VERIFICATION OF CREDITOR MATRIX

          I, the Corporate Secretary of the above-captioned entity named as a debtor in this case,

hereby verify that the attached list of creditors is true and correct to the best of my knowledge.


Date: February 4, 2025                                /s/ Amy LaCroix
                                                      By:    Amy LaCroix
                                                      Title: Corporate Secretary




35648592.2
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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 In re:                                                 Chapter 11

 Lutheran Home for the Aged,                            Case No. 25-[            ]
 Inc.,
                                                        (Joint Administration Requested)
                          Debtor.

                         CORPORATE OWNERSHIP STATEMENT

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the following are corporations, other than a government unit, that directly or indirectly own 10%
or more of any class of the debtor's equity interest:


                       Shareholder                           Approximate Percentage

      Lutheran Home and Services for the Aged, Inc.            100% (Sole member)
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                                 RESOLUTIONS OF THE BOARD OF DIRECTORS OF
                                         LUTHERAN LIFE MINISTRIES

                                      AND SOLE MEMBER OF
                          LUTHERAN HOME AND SERVICES FOR THE AGED, INC.,
                                       LUTHER OAKS, INC.,
                                PLEASANT VIEW LUTHER HOME, INC.,
                               WITTENBERG LUTHERAN VILLAGE, INC.,
                      WITTENBERG LUTHERAN VILLAGE ENDOWMENT CORPORATION
                                LUTHERAN LIFE COMMUNITIES ; AN])
                             LUTHERAN LIFE COMMUNITIES FOUNDATION

                                                   LUTHERAN LIFE MINISTRIES

                                                             February 3, 2025

                      On the date written above, the board of directors (the "Board") of Lutheran Life Ministries,
             an Illinois not-for-profit corporation (the "Company") and the sole member of (i) Lutheran Home and
             Services for the Aged, Inc., an Illinois not-for-profit corporation ("Lutheran Home and Services"),
             (ii) Luther Oaks, Inc., an Illinois not-for-profit corporation ("Luther Oaks"), (iii) Pleasant View
             Luther Home, Inc., an Illinois not-for-profit corporation ("Pleasant View"), (iv) Wittenberg Lutheran
             Village, Inc., an Indiana non-profit corporation ("Wittenberg Lutheran Village"), (v) Wittenberg
             Lutheran Village Endowment Corporation, an Indiana non-profit corporation ("Wittenberg
             Endowment"), (vi) Lutheran Life Communities Foundation, an Illinois not-for-profit corporation
             ("LLCF"); and (vii) Lutheran Life Communities, an Illinois not-for-profit corporation ("LLC"), and
             as an indirect member of Lutheran Home for the Aged, Inc., an Illinois not-for-profit corporation
             ("Lutheran Home for the Aged" and, together with Lutheran Home and Services, Luther Oaks,
             Pleasant View, Wittenberg Lutheran Village, Wittenberg Endowment, LLCF, and LLC, the
             "Entities", and individually, each an "Entity"), held a telephonic/virtual meeting at which a quorum
             was present, whereby the majority of directors present consented to taking of the following actions
             and adopted the following resolutions pursuant to the Company's Constitution/Bylaws and in
             accordance with the Illinois General Not For Profit Corporation Act of 1986, as amended:

                     WHEREAS, each Entity has been investigating strategic alternatives for addressing the
             financial needs of such Entity and its affiliates, reorganizing their business, maximizing the value
             of the assets of such Entity and its affiliates, and protecting each of Lutheran Home and Services,
             Luther Oaks, Pleasant View, Wittenberg Lutheran Village, Wittenberg Endowment, and Lutheran
             Home for the Aged (collectively, the "OG Members") from the appointment of a receiver over the
             OG Members and their assets and the corresponding damaging and value destructive consequences
             of such appointment on the Entities;

                     WHEREAS, the board of directors of each Entity has determined that it is in the best
             interests of each Entity, its creditors, and other interested parties to commence a case under chapter
             11 of title 11 of the United States Code (the "Bankruptcy Code") and to take certain other actions
             to maximize the value of its assets; and
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                     WHEREAS, upon the advice of counsel and other professional advisors, the Board has
             determined that, it is in the best interests of the Company, the Company's creditors, and other
             interested parties for each Entity to commence a case under the Bankruptcy Code and to take
             certain other actions to maximize the value of such Entity's assets.

                     NOW, THEREFORE, BE IT RESOLVED AS FOLLOWS:

                                                  Chapter 11 Bankruptcy Cases

                     RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
             the Company, and the Company's creditors, equity holders, and other interested parties, that each
             Entity file a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the United
             States Bankruptcy Court for the Northern District of Illinois (the "Court");

                     RESOLVED, that each member of the board of directors of each Entity and each officer
             of an Entity (each, an "Authorized Party") is hereby authorized and directed to take, in each case
             with the advice of counsel and the Entity's other advisors, (a) any and all actions necessary or
             appropriate to prepare for and cause such filings to occur, including, without limitation, by causing
             the preparation, execution, verification, and/or filing of all petitions, schedules, statements, lists,
             "first day" motions and applications, and other necessary or appropriate pleadings or papers, and
             (b) any and all other necessary or appropriate actions in furtherance of commencing a bankruptcy
             case (the "Bankruptcy Case"), obtaining necessary or appropriate relief from the Court, and/or
             otherwise transitioning into operating under chapter 11 and any other relevant provisions the
             Bankruptcy Code;

                                                    Retention of Professionals

                      RESOLVED, that, subject to the Court's approval, the law firm of Squire Patton Boggs
             (US) LLP ("SPB") is hereby retained on the terms set forth in SPB's Engagement Letter, dated
             May 6, 2024 (as may be amended or modified from time to time) to serve as the Entities' primary
             bankruptcy and restructuring counsel in connection with the Bankruptcy Case and to advise and
             assist the Entities with respect to all aspects of the Bankruptcy Case, including, without limitation,
             (a) preparing and filing all necessary or appropriate documents to commence the Bankruptcy Case,
             (b) obtaining necessary or appropriate relief from the Court, (c) operating under chapter 11 and
             other relevant provisions of the Bankruptcy Code, and (d) otherwise performing its duties as a
             debtor and debtor-in-possession;

                    RESOLVED, that the Entities are hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $300,000 previously paid to SPB on account of the services rendered or to be rendered by it;

                     RESOLVED, that McDonald Hopkins LLC ("MH") is hereby retained on the terms set
             forth in its Engagement Letter, dated February 1, 2025 (and as may be amended, restated or
             modified from time to time) to serve as the Entities' Illinois bankruptcy and restructuring counsel;

                    RESOLVED, that the Entities are hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $100,000 previously paid to MH on account of the services rendered or to be rendered by it;


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                     RESOLVED, that, subject to the Court's approval, OnePoint Partners, LLC ("OnePoint")
             is hereby retained on the terms set forth in its Engagement Letter, dated April 25, 2024 (as may be
             amended or modified from time to time) to serve as the Entities' financial advisor in the
             Bankruptcy Case;

                    RESOLVED, that the Entities are hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $80,000 previously paid to OnePoint on account of the services rendered or to be rendered by it;

                     RESOLVED, that, subject to the Court's approval, Stretto ("Stretto") is hereby retained
             on the terms set forth in its Engagement Letter, dated February 3, 2025 (as may be amended or
             modified from time to time) to serve as the Entities' claims, noticing, solicitation, balloting, and/or
             tabulation agent for the Entities in the Bankruptcy Case;

                    RESOLVED, that the Entities are hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $10,000 previously paid to Stretto on account of the services rendered or to be rendered by it;

                                                       Use of Cash Collateral

                     RESOLVED, that each Entity, by and through any Authorized Party, is hereby authorized
             and instructed to make such arrangements and take such actions as it deems necessary or proper
             for the Entity to use cash collateral as a debtor-in-possession under chapter 11 of the Bankruptcy
             Code;

                                                Other Bankruptcy Authorizations

                     RESOLVED, that the Entity and each Authorized Party is authorized and empowered to
             (a) take or cause to be taken any and all further action(s), (b) engage other professionals,
             (c) execute and deliver further documents and instruments, and (d) pay fees and expenses, all as
             such parties deem necessary or appropriate in order to fully carry out the intent and to accomplish
             the purposes of these resolutions;

                     RESOLVED, that any and all past actions previously taken by the officers and/or directors
             of the Entity in the name or otherwise on behalf of the Entity with respect to the commencement
             of the Bankruptcy Case or otherwise in furtherance of any or all of these resolutions are hereby
             ratified, confirmed, and approved; and

                    RESOLVED, that these resolutions may be executed by facsimile, telecopy or other
             reproduction method, and such execution shall be considered valid, binding, and effective for all
             purposes.




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                     IN WITNESS WHEREOF, the Sole Member and Board have adopted these resolutions
             as of the date first written above.



                                                                LUTHERAN LIFE MINISTRIES

                                                                   Signed by:


                                                                 Ndatzts        tvirt,U,
                                                                Nicholas TetTell
                                                                Corporate Secretary




                   Signature Page to Resolutions of the Board of Directors of Lutheran Life Ministries
             and Sole Member of Lutheran Home and Services for the Aged, Inc., Luther Oaks, Inc., Pleasant
                View Luther Home, Inc., Wittenberg Lutheran Village, Inc., Wittenberg Lutheran Village
             Endowment Corporation; Lutheran Life Communities Foundation and Lutheran Life Communities
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                                   RESOLUTIONS OF THE BOARD OF DIRECTORS

                                             LUTHERAN HOME FOR THE AGED, INC.

                                                         February 3, 2025

                    On the date written above, the board of directors (the "Board") of Lutheran Home for the
             Aged, Inc., an Illinois not-for-profit corporation (the "Company"), held a telephonic/virtual meeting
             at which a quorum was present, whereby the majority of directors present consented to taking of the
             following actions and adopted the following resolutions pursuant to the Company's Amended and
             Restated Bylaws and in accordance with the Illinois General Not For Profit Corporation Act of 1986,
             as amended:

                     WHEREAS, the Company has been investigating strategic alternatives for addressing the
             financial needs of the Company and its affiliates, reorganizing their business, maximizing the value
             of the assets of the Company and its affiliates, and protecting the Company from the appointment
             of a receiver over the Company and its assets and the corresponding damaging and value
             destructive consequences of such appointment; and

                     WHEREAS, upon the advice of counsel and other professional advisors, the Board has
             determined that, it is in the best interests of the Company, the Company's creditors, and other
             interested parties to commence a case under chapter 11 of title 11 of the United States Code (the
             "Bankruptcy Code") and to take certain other actions to maximize the value of their assets.

                     NOW, THEREFORE, BE IT RESOLVED AS FOLLOWS:

                                                  Chapter 11 Bankruptcy Cases

                     RESOLVED, that in the judgment of the Board, it is desirable and in the best interests of
             the Company, and the Company's creditors, equity holders, and other interested parties, that the
             Company file a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the United
             States Bankruptcy Court for the Northern District of Illinois (the "Court");

                     RESOLVED, that each member of the Board and each officer of the Company (each, an
             "Authorized Party") is hereby authorized and directed to take, in each case with the advice of
             counsel and the Company's other advisors, (a) any and all actions necessary or appropriate to
             prepare for and cause such filings to occur, including, without limitation, by causing the
             preparation, execution, verification, and/or filing of all petitions, schedules, statements, lists, "first
             day" motions and applications, and other necessary or appropriate pleadings or papers, and (b) any
             and all other necessary or appropriate actions in furtherance of commencing a bankruptcy case
             (the "Bankruptcy Case"), obtaining necessary or appropriate relief from the Court, and/or
             otherwise transitioning into operating under chapter 11 and any other relevant provisions the
             Bankruptcy Code;

                   RESOLVED, that the Board recommends that the sole member of the Company, Lutheran
             Home and Services for the Aged, Inc., an Illinois not-for-profit corporation, approve the
             Bankruptcy Case;
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                                                    Retention of Professionals

                    RESOLVED, that, subject to the Court's approval, the law firm of Squire Patton Boggs
             (US) LLP ("SPB") is hereby retained on the terms set forth in SPB's Engagement Letter, dated
             May 6, 2024 (as may be amended or modified from time to time) to serve as the Company's
             primary bankruptcy and restructuring counsel in connection with the Bankruptcy Case and to
             advise and assist the Company with respect to all aspects of the Bankruptcy Case, including,
             without limitation, (a) preparing and filing all necessary or appropriate documents to commence
             the Bankruptcy Case, (b) obtaining necessary or appropriate relief from the Court, (c) operating
             under chapter 11 and other relevant provisions of the Bankruptcy Code, and (d) otherwise
             performing its duties as a debtor and debtor-in-possession;

                    RESOLVED, that the Company is hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $300,000 previously paid to SPB on account of the services rendered or to be rendered by it;

                     RESOLVED, that McDonald Hopkins LLC ("MH") is hereby retained on the terms set
             forth in its Engagement Letter, dated February 1, 2025 (and as may be amended, restated or
             modified from time to time) to serve as the Company's Illinois bankruptcy and restructuring
             counsel;

                    RESOLVED, that the Company is hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $100,000 previously paid to MH on account of the services rendered or to be rendered by it;

                     RESOLVED, that, subject to the Court's approval, OnePoint Partners, LLC ("OnePoint")
             is hereby retained on the terms set forth in its Engagement Letter, dated April 25, 2024 (as may be
             amended or modified from time to time) to serve as the Company's financial advisor in the
             Bankruptcy Case;

                    RESOLVED, that the Company is hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $80,000 previously paid to OnePoint on account of the services rendered or to be rendered by it;

                     RESOLVED, that, subject to the Court's approval, Stretto ("Stretto") is hereby retained
             on the terms set forth in its Engagement Letter, dated February 3, 2025 (as may be amended or
             modified from time to time) to serve as the Company's claims, noticing, solicitation, balloting,
             and/or tabulation agent for the Company in the Bankruptcy Case;

                    RESOLVED, that the Company is hereby authorized and directed to continue to
             periodically replenish, as required and as approved by the Court, the retainer in the amount of
             $10,000 previously paid to Stretto on account of the services rendered or to be rendered by it;

                                                      Use of Cash Collateral

                    RESOLVED, that the Company, by and through any Authorized Party, is hereby
             authorized and instructed to make such arrangements and take such actions as it deems necessary



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          or proper for the Company to use cash collateral as a debtor-in-possession under chapter 11 of the
          Bankruptcy Code;

                                          Other Bankruptcy Authorizations

                   RESOLVED, that the Company and each Authorized Party is authorized and empowered
           to (a) take or cause to be taken any and all further action(s), (b) engage other professionals,
           (c) execute and deliver further documents and instruments, and (d) pay fees and expenses, all as
           such parties deem necessary or appropriate in order to fully carry out the intent and to accomplish
           the purposes of these resolutions;

                   RESOLVED, that any and all past actions previously taken by the officers and/or directors
           of the Company in the name or otherwise on behalf of the Company with respect to the
           commencement of the Bankruptcy Case or otherwise in furtherance of any or all of these
           resolutions are hereby ratified, confirmed, and approved; and

                  RESOLVED, that these resolutions may be executed by facsimile, telecopy or other
           reproduction method, and such execution shall be considered valid, binding, and effective for all
           purposes.




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                  IN WITNESS WHEREOF, the Board has adopted these resolutions as of the date first
          written above.

                                                                 DocuSigned by:

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                                                             Amy LaCroix
                                                             Corporate Secretary




                             Signature Page to Resolutions of the Board of Directors of
                                         Lutheran Home for the Aged, Inc.
